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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF FLORIDA


WALT DISNEY PARKS AND RESORTS U.S., INC.,

            Plaintiff,

      v.

RONALD D. DESANTIS, in his official capacity as
Governor of Florida; MEREDITH IVEY, in her
official capacity as Acting Secretary of the
Florida Department of Economic Opportunity;
MARTIN GARCIA, in his official capacity as Board
Chair of the Central Florida Tourism Oversight
District; MICHAEL SASSO, in his official capacity
                                                    Case No. 4:23-cv-00163-MW-MAF
as Board Member of the Central Florida Tourism
Oversight District; BRIAN AUNGST, JR., in his
official capacity as Board Member of the Central
Florida Tourism Oversight District; RON PERI, in
his official capacity as Board Member of the
Central Florida Tourism Oversight District;
BRIDGET ZIEGLER, in her official capacity as
Board Member of the Central Florida Tourism
Oversight District; and JOHN CLASSE, in his
official capacity as Administrator of the Central
Florida Tourism Oversight District,

            Defendants.


           PLAINTIFF’S NOTICE UNDER FEDERAL RULE OF
            CIVIL PROCEDURE 5.1 AND LOCAL RULE 24.1
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      Plaintiff Walt Disney Parks and Resorts U.S., Inc. (“Disney”) files this

notice of constitutional challenge to Senate Bill 4-C, Fla. Laws ch. 2022-266

(amending Fla. Stat. § 189.0311) (“Senate Bill 4C”), House Bill 9-B, Fla. Laws ch.

2023-5 (“House Bill 9B”), and the legislative findings and declaration by the

Central Florida Tourism Oversight District on April 26, 2023 (“Legislative

Declaration”) that Disney’s contracts are “void and unenforceable.” This notice is

given under Federal Rule of Civil Procedure 5.1 and Northern District of Florida

Local Rule 24.1.

      In this case, Disney challenges the Legislative Declaration as

unconstitutional under the Contracts Clause, the Takings Clause, and the Due

Process Clause. See U.S. Const. art. I, § 10, cl. 1; U.S. Const. amend. V; U.S.

Const. amend. XIV. Disney also challenges Senate Bill 4C, House Bill 9B, and the

Legislative Declaration as unconstitutional under the First Amendment. See U.S.

Const. amend. I, amend. XIV. Disney’s complaint asserting these constitutional

violations is attached.
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Dated: April 26, 2023                  Respectfully submitted.




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        Attorneys for Plaintiff Walt Disney Parks and Resorts U.S., Inc.
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                         CERTIFICATE OF SERVICE

      I hereby certify that, on April 26, 2023, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system. I further certify that I sent the

foregoing document and the notice of electronic filing by U.S. Mail, return receipt

requested, to the following recipients:

Office of the Attorney General
State of Florida
PL-01 The Capitol
Tallahassee, FL 32399-1050

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c/o Fishback Dominick, Special Counsel to the District
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